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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF MISSISSIPPI
ABERDEEN DIVISION

ATKINS TRUCKING LLC, on behalf of itself
and all others similarly situated PLAINTIFF

v. CIVIL ACTION NO. 1:22-cv-00186-GHD-RP

WELLS FARGO & COMPANY; WELLS FARGO
BANK, N.A.; et al. DEFENDANTS

ORDER OF RECUSAL
The undersigned hereby RECUSES himself from further participation in this cause. The
case sub judice is returned to the Clerk of the United States District Court for the Northern District
of Mississippi for reassignment. qo

on

SO ORDERED, this, the day of December, 2022,

ME. KM NevBoon

SENIOR U.S. DISTRICT JUDGE

 

 

 
